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      EXHIBIT C
UEC’s Notice of FRCP 26(f) Conference dated
                July 2, 2018




      EXHIBIT C
                                                                    APP013
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                                                                   APP014
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